           Case 1:14-vv-01216-UNJ Document 35 Filed 12/18/15 Page 1 of 7



In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS

*********************
DEAN STANFORD,           *                           No. 14-1216V
                         *
             Petitioner, *                           Special Master Moran
                         *
v.                       *                           Filed: November 16, 2015
                         *
SECRETARY OF HEALTH      *                           Stipulation; influenza, Pneumococcal
AND HUMAN SERVICES,      *                           (“Pneuemovax”), tetanus-diphtheria-
                         *                           pertussis (“Tdap”) vaccines;
             Respondent. *                           Guillain-Barré Syndrome (“GBS”).
*********************

Marvin Firestone, Marvin Firestone, MD, JD & Associates, San Mateo, CA, for
Petitioner;
Camille M. Collett, United States Dep’t of Justice, Washington, DC, for
Respondent.

                              UNPUBLISHED DECISION1

       On November 10, 2015, respondent filed a joint stipulation concerning the
petition for compensation filed by Dean Stanford on December 19, 2014. In his
petition, Mr. Stanford alleged that the influenza vaccine, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and the Pneumovax and
Tdap vaccinations, which he received on or about December 15, 2011, caused him
to suffer Guillain-Barré Syndrome (“GBS”). Petitioner further alleges that he
experienced the residual effects of this condition for more than six months.
Petitioner represents that there has been no prior award or settlement of a civil
action for damages as a result of his condition.

       Respondent denies that the influenza or any other immunization is the cause
of petitioner’s alleged GBS or any other injury or condition.

       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
           Case 1:14-vv-01216-UNJ Document 35 Filed 12/18/15 Page 2 of 7


      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum of $85,000.00 in the form of a check payable to petitioner,
       Dean Stanford. This amount represents compensation for all damages
       that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-1216V according to this decision
and the attached stipulation.2

     Any questions may be directed to my law clerk, Shannon Proctor, at (202)
357-6360.

       IT IS SO ORDERED.

                                                     s/ Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
                                                2
Case 1:14-vv-01216-UNJ Document 35 Filed 12/18/15 Page 3 of 7
Case 1:14-vv-01216-UNJ Document 35 Filed 12/18/15 Page 4 of 7
Case 1:14-vv-01216-UNJ Document 35 Filed 12/18/15 Page 5 of 7
Case 1:14-vv-01216-UNJ Document 35 Filed 12/18/15 Page 6 of 7
Case 1:14-vv-01216-UNJ Document 35 Filed 12/18/15 Page 7 of 7
